






Opinion issued August 8, 2002 










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00402-CR

____________


ANNETTA CHAPMAN BOOKER, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause No. 881086






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue mandate immediately.  Tex. R. App.
P. 18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish.  Tex. R. App. P. 47.


